
988 A.2d 564 (2010)
201 N.J. 143
STATE of New Jersey, Plaintiff-Cross-Respondent,
v.
T.M., Defendant-Cross-Petitioner.
C-545 September Term 2009, 064396
Supreme Court of New Jersey.
January 22, 2010.
This matter having been presented to the Court on the cross-petition for certification of defendant seeking review of the judgment in A-006028-05 of the Superior Court, Appellate Division, and defendant claiming that he is in possession of documentary evidence that shows he did not waive his presence when he consented to the search, and good cause appearing, it is hereby
ORDERED that the matter is summarily remanded to the Superior Court, Law Division, to address defendant's claims regarding this documentary evidence and to reconsider whether defendant waived his presence during the search and, if he did not, whether the evidence seized was properly admitted. The hearing on remand is to commence within thirty days of the filing date of this Order and the trial court's statement of its findings of fact and conclusions of law is to be filed with the Court within thirty days of the conclusion of the hearing.
Jurisdiction is retained.
